       Case 1:24-cr-00542-AS        Document 307       Filed 04/30/25      Page 1 of 1




                                                          April 30, 2025

VIA ECF
Hon. Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:    United States v. Combs, 24-cr-542 (AS)

Dear Judge Subramanian:

        Enclosed please find a proposed order permitting Defendant Sean Combs to receive non-
prison clothing at the MDC for his trial scheduled to begin on May 5, 2025.

                                                         Respectfully submitted,




                                                         Marc Agnifilo
                                                         Teny Geragos
                                                         AGNIFILO INTRATER
                                                         445 Park Ave., 7th Fl.
                                                         New York, NY 10022
                                                         (646) 205-4350
                                                         marc@agilawgroup.com
                                                         teny@agilawgroup.com


cc:    All counsel (by ECF)
